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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                                                   § CASE NUMBER 6:16-CR-00017-RC
 v.                                                §
                                                   §
                                                   §
 HALEY STILL (1),                                  §
                                                   §

               ORDER ADOPTING AMENDED FINDINGS OF FACT AND
               RECOMMENDATION ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable John D. Love, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

Judge John D. Love conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued his Amended Findings of Fact and Recommendation on

Guilty Plea Before the United States Magistrate Judge. The magistrate judge recommended that

the court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

Defendant guilty on Count Two of the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS that

the Amended Findings of Fact and Recommendation on Guilty Plea of the United States

Magistrate Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance

of the plea agreement until after review of the presentence report. The court ORDERS the

Defendant’s attorney to read and discuss the presentence report with the Defendant, and file any

objections to the report BEFORE the date of the sentencing hearing.
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       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Haley Still (1), is adjudged guilty

as to Count Two of the Indictment charging a violation of 21 U.S.C. § 841(A)(1) - POSSESSION

WITH THE INTENT TO DISTRIBUTE OR DISPENSE (METHAMPHETAMINE,

COCAINE, HEROIN, CRACK COCAINE, MARIJUANA).



      So Ordered and Signed
      Dec 13, 2016
